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                  INTHE UNITED STATES DISTRICT COURT FQR THE- wopen rouRT
                             EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division
                                                                            CLERK, U.S. DISTRICT COURT
                                                                               ALEXANDRIA. VIRGIWIA

UNITED STATES OF AMERICA                            UNDER SEAL


           V.                                       Case No. l:16-CR-300

                                                    Count 1:     Conspiracyto Distribute Five
DAMASO LOPEZ NUNEZ,                                              Kilograms or More of Cocaine
  a/k/a "El Licenciado" and "Lie,"                               Intending and Knowing it will
                                                                 be Unlawfully Imported into the
DAMASO LOPEZ SERRANO,                                            United States
   a/k/a "Mini Lie" and "Damaso Lopez Jr.,'                      (21 U.S.C. §§ 959(a), 963)

            Defendants.                             Forfeiture Notice:   21 U.S.C. § 853


                                        INDICTMENT

                      DECEMBER 2016 TERM - at Alexandria, Virginia

                                          COUNT ONE


       THE GRAND JURY CHARGES THAT:

       From in and around 2003 and continuing thereafter up to and including the date of this

Indictment, the exact dates being unknown to the Grand Jury, within thejurisdiction of the

United States and in an offense begun and committed outside thejurisdiction of a particular State

or district, including in Mexico, Colombia, Costa Rica, Honduras, Guatemala, Panama, and
elsewhere, the defendants DAMASO LOPEZ NUNEZ (also known as "El Licenciado" and

"Lie") and DAMASO LOPEZ SERRANO (also known as"Mini Lie" and "Damaso Lopez Jr."),
who will be first brought to the Eastern District of Virginia, did knowingly and intentionally

combine, conspire, confederate, and agree with others known and unknown to the Grand Jury to

knowingly and intentionally distribute five kilograms or more of a mixture and substance
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